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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
Brandon Ehlis, on behalf of himself and all      )
others similarly situated,                       )     Case No. 20-cv-01872-PJS-ECW
                                                 )
               Plaintiff,                        ) STIPULATION FOR EXTENSION
                                                 )   OF TIME FOR DEFENDANT
v.                                               )    TO MOVE, ANSWER, OR
                                                 ) OTHERWISE RESPOND TO THE
DAP Products, Inc.,                              )          COMPLAINT
                                                 )
               Defendant.                        )


       Plaintiff Brandon Ehlis, by and through his undersigned counsel, and defendant

DAP Products, Inc. ("DAP"), by and through its undersigned counsel, hereby stipulate

and agree as follows:

       WHEREAS, DAP's response to plaintiff's Complaint is currently due on or before

October 30, 2020.

       WHEREAS, DAP requires additional time to review the claims in this matter so

that it has a full and fair opportunity to respond to plaintiff's Complaint.

       WHEREAS, the parties have agreed that there is good reason to extend the

deadline for DAP to answer or otherwise respond to plaintiff's Complaint to November

13, 2020.

       NOW, THEREFORE, the parties hereby stipulate and agree as follows:

       1.      DAP, without waiver of any defenses, shall have through and including

November 13, 2020, to answer or otherwise respond to plaintiff's Complaint.

       2.      The parties stipulate to the entry of an appropriate order so providing.




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Dated: October 22, 2020                 GUSTAFSON GLUEK PLLC


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Dated: October 22, 2020              HINSHAW & CULBERTSON LLP


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